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                                            No.19‑0125
                                     Filed:February 15,2019



LEONARD D.FUQUA,

                        Plaintift


           V.


THE UNITED STATES,

                        Dcfendant.



                                              ORDER

        On January 22,2}lg,plaintiff, Leonard D. Fuqua, proceeding pro se, hled a Complaint
with this Court. In his Complaint against the United States, plaintiff alleges that the United
States District Court for the Northern District of Illinois, Eastern Division
                                                                              ("District Court"),
                                                                                  of a separate
failed to comply with the Federal Rules of Civil Procedure in the adjudication
                                      o'Compl.-) at2. Previously, plaintiff filed a request for
proceeding. Complaint (hereinafter
                                                                                         pay in the
iefault judgment in a separat e pro se proceeding regarding back-pay and severance
                                                                                       the defendant
District Court. Compl. ut t. fn. District Court denied plaintiff s request because
                                                                                Compl' at 5'
made an appearanceln the case, tendering default judgment inappropriate'

                                                                                         when it failed
        In his Complaint, plaintiff alleges that the District Court violated his rights
                                                                              s request for default
to comply with the Federal Rules of Civil Procedure by denying plaintiff
judgmeni. Compl. at2. Plaintiff requests that this Court award him a default judgment in the
                                                                         February 8, 2013, as well as
 amount of $I79,276.55, with costs and interest accrued to date from
                                                                                 plaintiff filed a
 any und all relief deemed proper by this Court. Compl. at 5 ' Additionally,
 Motion for Leave to Proceed informa pauperis on January 22,2019.
                                                                                            which grants
         This Court's authority to hear cases is primarily set forth by the Tucker Act,
                                                                                  against the United
the Court of Federal Claims subjecrmatter jurisdiction over claims brought
                                                                        do not sound   in tort' 28
States that are grounded on a money-mandating source of law and
                                                                                       ("RCFC") states
U.S.C. $ 149lCulf f l. Rule 12(h)(3) of the Rules of the Court of Federal Claims
that
     ,.[if the court determines at any time that it lacks subject-matter
                                                                          jurisdiction,  the court must
                                                                              the Court of Federal
dismiss the action.', RCFC l2(hX3). Furthermore, it is well settled that
                                                             of  state courts and  district courts' See
Claims does not have jurisdiction to review the decisions
                                                                                          the Court of
Allustiarte v. united itotrr,256F.3d 1349, 1352 (Fed. Cir. 2001) (explaining that
                                                                                         United States,
 Federal Claims does not have jurisdiction over district court appeals); Rohland,v.
                                                                       of          claims   does not
 136 Fed. Cl. 55, 66-67 (p'ed. cl. 2019) (explaining that the court       Federal
 have jurisdiction over any appeals)'
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        Plaintiff attempts to impute legal liability upon the United States for an alleged wrongful
application of law in a federal court. Compl. at 1. Therefore, plaintiff s Complaint is, in
essence, an appeal. Judicial decisions, however, can only be reviewed by the appropriate
appellate court. Rohland, 136 Fed. Cl. at 6ffi7. Therefore, this Court lacks the subject-matter
jurisdiction necessary to adjudicate plaintiff s claims.

        As the Court of Federal Claims has no jurisdiction to hear appeals from other courts, the
Court has no choice but to dismiss it. Upon sua sponte review, this Court finds that plaintiff s
allegations do not give rise to any cause of action for which this Court has subject-matter
jurisdiction. This Court has no authority to decide plaintiff s case, and therefore must dismiss
the Complaint pursuant to RCFC 12(hX3).

       For the reasons set forth above, plaintiff s Complaint is hereby DISMISSED, sua sponte,
pursuant to RCFC 12(hX3). Additionally, plaintiffls Motion for Leave to Proceed informa
pauperis is GRANTED. The Clerk of Court is hereby directed to take the necessary steps to
dismiss this matter.

        ITIS S0 0RDERED.
